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 9
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10

11                             UNITED STATES DISTRICT COURT
12                        FOR THE CENTRAL DISTRICT OF CALIFORNIA

13    JORGE VALDES, individually on behalf of
      all others similarly situated,
14
                            Plaintiff,                    CLASS ACTION COMPLAINT
15
             v.                                           JURY TRIAL DEMAND
16
      COLDWELL BANKER REAL ESTATE,
17    LLC, a California limited liability company,
      and NRT, LLC, a Delaware limited liability
18    company,

19                          Defendants.

20
                  CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
21
             Plaintiff Jorge Valdes (“Plaintiff Valdes” or “Valdes”) brings this Class Action
22
      Complaint and Demand for Jury Trial against Defendants Coldwell Banker Real Estate LLC,
23
      (“Coldwell Banker”) and NRT, LLC (“NRT”) to stop both Defendants from directing realtors to
24
      violate the Telephone Consumer Protection Act by making unsolicited autodialed calls to
25
      consumers without their consent, including calls to consumers registered on the national Do Not
26
      Call registry (“DNC”), and to otherwise obtain injunctive and monetary relief for all persons
27

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 1 injured by the conduct of Defendants. Plaintiff Valdes, for this Complaint, alleges as follows
 2 upon personal knowledge as to himself and his own acts and experiences, and, as to all other

 3 matters, upon information and belief, including investigation conducted by his attorneys.
 4                                                   INTRODUCTION
 5               1.       Coldwell Banker is a worldwide real estate franchise with offices in 49 countries.          1




 6 Coldwell Banker provides training and direction to all of Coldwell Banker branded brokerages,
 7 including NRT, which operates Coldwell Banker brokerages throughout the US and does
 8 business as “Coldwell Banker Residential Brokerage.”                 2




 9               2.       Coldwell Banker and NRT jointly train NRT’s realtors.
10               3.       Through this training, Coldwell Banker and NRT direct realtors to cold call
11 consumers to sell them Coldwell Banker’s realty services. This includes specific instructions to
12 call consumers who have previously listed their properties for sale with other realtors, but whose
13 listings with those other realtors expired without a sale of the property.
14               4.       In addition to directly instructing realtors to make unsolicited cold calls to obtain
15 listings, Coldwell Banker and NRT provide realtors with telephone numbers and other analytics
16 for identifying leads to cold call, scripts for the cold calls, and preferred pricing from Coldwell
17 Banker’s partner vendors for other cold calling related training and products, including
18 autodialers.
19               5.       Ultimately, Coldwell Banker’s and NRT’s marketing plan for NRT realtors
20 involves cold calling consumers, with a focus on calling consumers who have recently expired
21 property listings. This is troubling since cold calling consumers without consent violates the
22 TCPA.
23               6.       In Plaintiff Valdes’ case, Coldwell Banker’s marketing plan resulted in him
24 receiving unsolicited, autodialed calls from 3 different Coldwell Banker and NRT realtors to his

25 cellular phone number registered on the DNC. This all occurred after the multiple listing service
26
      1
          https://www.coldwellbanker.com/about
      2
27        https://www.nrtllc.com/our-companies/coldwell-banker-residential-brokerage/california-greater-los-angeles
                                              CLASS ACTION COMPLAINT
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 1 listing for Plaintiff’s property, which was maintained by Plaintiff’s former realtor and which did
 2 not include any of Plaintiff’s telephone numbers, was removed from the multiple listing service

 3 without Plaintiff having sold his home.
 4          7.      In response to these calls, Plaintiff Valdes files this lawsuit seeking injunctive
 5 relief, requiring Defendants to cease from directing realtors to violate, and otherwise ratifying
 6 realtors violations of, the Telephone Consumer Protection Act by placing unsolicited autodialed
 7 calls to consumers, including consumers that have registered their telephone numbers on the
 8 DNC, as well as an award of statutory damages to the members of the Classes and costs.
 9                                               PARTIES
10          8.      Plaintiff Jorge Valdes is a resident of Tustin, California.
11          9.      Defendant Coldwell Banker is a California limited liability company with its
12 headquarters located in Madison, New Jersey. Coldwell Banker was founded and incorporated in
13 this District and conducts business throughout this District, California, and the United States.
14          10.     Defendant NRT is a Delaware limited liability company with its headquarters
15 located in Madison, New Jersey. NRT conducts business throughout this District, California,
16 and the US.
17                                   JURISDICTION AND VENUE
18          11.     This Court has federal question subject matter jurisdiction over this action under
19 28 U.S.C. § 1331, as the action arises under the Telephone Consumer Protection Act, 47 U.S.C.
20 §227 (“TCPA”).
21          12.     This Court has personal jurisdiction over Defendants and venue is proper in this
22 District under 28 U.S.C. § 1391(b) because Defendants do significant business in this District
23 and because the wrongful conduct giving rise to this case occurred in this District. Venue is
24 additionally proper because Plaintiff resides in this District and the calls were directed towards

25 Plaintiff in this District.
26
27
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 1                                           COMMON ALLEGATIONS
 2                     Coldwell Banker and NRT Direct Realtors to Cold Call Consumers
 3               13.     Coldwell Banker and NRT direct realtors to use, and ratify realtors’ use of, certain
 4
      proscribed practices to market Coldwell Banker’ realty services, including unsolicited,
 5
      autodialed calls to cellular telephone numbers and other telephone numbers registered on the
 6
      DNC.
 7
 8               14.     Through a vast array of training programs, Defendants instruct realtors that, in

 9 order to successfully market their realty services for the realtors’ and Defendants’ joint benefit,
10 realtors need “to make cold calls” and “[t]o follow scripts” that Defendants supply them.        3




11
                 15.     As Defendants’ realtors understand it, Defendants “push” the practice of “reading
12
      scripts and cold calling total strangers” notwithstanding “the FEDERAL DO NOT CALL law”
13
      and how much people “hate telemarketers.”          4


14
15               16.     In connection with this general direction to cold call consumers, Defendants

16 supply their realtors with telephone numbers and other data relating to prospective leads for
17 property listings:
18
19
20
21
22
23
24

25
26
      3
          https://youtu.be/OP5A65vv2Tk?t=54
      4
27        https://activerain.com/questions/show/43937/how-do-you-overcome-fear-of-the-phone-
                                            CLASS ACTION COMPLAINT
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26    5
        https://www.coldwellbanker.com/careers/production-power/cbx-tech-suite.html
      6
        https://youtu.be/ee2dm36d6QA?
      7
27      https://www.youtube.com/watch?v=ee2dm36d6QA&feature=youtu.be&t=283
                                          CLASS ACTION COMPLAINT
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                 17.   As Coldwell Banker has expressly acknowledged, the leads it supplies to realtors
 1
 2 to cold call are not checked or scrubbed against the national Do Not Call registry as required

 3 under the TCPA.       8




 4               18.   Additionally, Defendants partner with certain vendors to provide their realtors
 5
      with additional cold calling training and tools, including Tom Ferry, a well-known real estate
 6
      coach. 9


 7
                 19.   Tom Ferry’s customized program for Defendants’ realtors is predicated on cold
 8
 9 calling consumers and includes scripts for various types of cold calls, including specifically those
10 with previously expired listings:
11
12
13
14
15
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17
18
19                                                                                 10



20
                 20.   In connection with Defendants directions to realtors to market themselves through
21
      cold calls to consumers, Defendants endorse agents’ purchases of leads and autodialers to call
22
23 those leads from various vendors. This includes partnering directly and through Tom Ferry with
24

25
      8
        https://youtu.be/ee2dm36d6QA?t=368
26    9
        https://www.prnewswire.com/news-releases/coldwell-banker-real-estate-partners-with-tom-ferry-to-provide-a-
      variety-of-customized-agent-coaching-programs-300146449.html
      10
27       http://www.tomferry.com/wp-content/uploads/2016/08/Agent-Script-Book.pdf
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      companies such as Landvoice and RedX, both of which specialize in providing leads associated
 1
 2 with properties that were previously listed on a multiple listing service, but that expired or were

 3 otherwise removed without a sale, and both of which supply an autodialer to facilitate calling the
 4 leads.
 5
             21.     Ultimately, Defendants direct realtors to cold call consumers without consent
 6
      and/or know or should know that realtors are doing so in violation of the TCPA, but fail to stop
 7
      them anyway.
 8
 9                                   PLAINTIFF’S ALLEGATIONS

10             Defendants’ Realtors Made Unsolicited, Autodialed Cold Calls to Plaintiff

11           22.     On February 8, 2010, Plaintiff Valdes registered his cellular phone number on the
12
      DNC to avoid receiving unsolicited phone calls. Since that time, the cellular phone number has
13
      been primarily for personal use. Plaintiff has never held the cellular phone number out to the
14
      public in connection with a business.
15
             23.     Valdes had a property listed for sale through a realtor, which he withdrew from
16
17 the market on May 15, 2018. The listing for Plaintiff’s property never included Plaintiff’s
18 cellular phone number (or any other number associated with him) as a means for inquiring about
19 the property.
20
             24.     As a result of having his listing removed, on May 26, 2018 at 9:51 AM, Valdes
21
      received an unsolicited phone call on his cellular phone from one of Defendants’ realtors using
22
      phone number 949-280-0322.
23
24           25.     Months later, when Valdes’ agreement with his realtor expired on October 29,

25 2018, Defendants’ realtors against called him.
26
27
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             26.     On October 29, 2018 at 9:14 AM, Valdes received a second unsolicited phone call
 1
 2 on his cellular phone from one of Defendants’ realtors using phone number 949-574-3550.

 3           27.     On one or more of these above calls, Plaintiff told them that he was on the do not
 4 call list and/or to stop calling.
 5
             28.     On February 7, 2019 at 10:15 AM, Valdes received a third unsolicited call on his
 6
      cellular phone from one of Defendants’ realtors using phone number 714-988-4040.
 7
             29.     The realtor began the call by asking if Valdes was still in the market to sell his
 8
 9 home. Valdes asked the realtor how the realtor acquired his phone number. The agent replied
10 that he used RedX to get Plaintiff Valdes’ cell phone number. Valdes then told the agent not to
11 call him back and ended the call.
12
             30.     On information and belief, this call was autodialed. In fact, RedX supplies list of
13
      leads that are configured to be loaded into a number of different autodialers, all of which have
14
      the capacity to store and automatically dial all of the numbers from the list without human
15
      intervention and to dial multiple numbers at one time.
16
17           31.     Plaintiff does not have a relationship with Defendants or their realtors and has

18 never consented to be contacted by them. To the contrary, Plaintiff registered his cell phone
19 number with the DNC and hired a realtor when he was trying to sell his property specifically to
20
      avoid such calls.
21
             32.     Defendants’ unauthorized telephone calls harmed Plaintiff in the form of
22
      annoyance, nuisance, and invasion of privacy, and disturbed Valdes’ use and enjoyment of his
23
24 cellular phone, in addition to the wear and tear on the phone’s hardware (including the phone’s

25 battery) and the consumption of memory on the phone.
26
27
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             33.     Seeking redress for these injuries, Valdes, on behalf of himself and Classes of
 1
 2 similarly situated individuals, brings suit under the Telephone Consumer Protection Act, 47

 3 U.S.C. § 227, et seq., which prohibits autodialed calls to cellular phone numbers and other
 4 unsolicited calls to phone numbers registered on the DNC.
 5
                                          CLASS ALLEGATIONS
 6
                      Class Treatment Is Appropriate for Plaintiff’s TCPA Claims
 7
             34.     Plaintiff Valdes brings this action pursuant to Federal Rule of Civil Procedure
 8
 9 23(b)(2) and Rule 23(b)(3) on behalf of himself and all others similarly situated and seeks
10 certification of the following Classes:
11           Autodialed No Consent Class: All persons in the United States who from four
             years prior to the filing of this action (1) one of Defendants’ realtors called, (2) on
12
             the person’s cellular telephone, (3) for substantially the same reason Defendants’
13           realtors called Plaintiff (4) using substantially the same dialing equipment as
             Defendants’ realtors used to call Plaintiff, and (5) for whom Defendants claim (a)
14           they obtained prior express written consent in the same manner as Defendants
             claims they supposedly obtained prior express written consent to call Plaintiff, or
15           (b) they did not obtain prior express written consent.
16
             Do Not Call Registry Class: All persons in the United States who from four years
17           prior to the filing of this action (1) one of Defendants’ realtors called more than one
             time, (2) within any 12-month period, (3) where the person’s telephone number had
18           been listed on the national Do Not Call registry for at least thirty days, (4) for
             substantially the same reason Defendants’ realtors called Plaintiff, and (5) for
19           whom Defendants claim (a) they obtained prior express written consent in the same
20           manner as Defendants claims they supposedly obtained prior express written
             consent to call Plaintiff, or (b) they did not obtain prior express written consent.
21
             Internal Do Not Call Class: All persons in the United States who from four years
22           prior to the filing of this action (1) one of Defendants’ realtors called more than one
             time (2) within any 12-month period, (3) for substantially the same reason
23           Defendants’ realtors called Plaintiff.
24
             35.     The following individuals are excluded from the Classes: (1) any Judge or
25
      Magistrate presiding over this action and members of their families; (2) Defendants, their
26
      subsidiaries, parents, successors, predecessors, and any entity in which either Defendant or its
27
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     parents have a controlling interest and their current or former employees, officers and directors;
 1
 2 (3) Plaintiff’s attorneys; (4) persons who properly execute and file a timely request for exclusion

 3 from the Classes; (5) the legal representatives, successors or assigns of any such excluded
 4 persons; and (6) persons whose claims against either Defendant have been fully and finally
 5
     adjudicated and/or released. Plaintiff anticipates the need to amend the Class definitions
 6
     following appropriate discovery.
 7
            36.     Numerosity: On information and belief, there are hundreds, if not thousands of
 8
 9 members of the Classes such that joinder of all members is impracticable.
10          37.     Commonality and Predominance: There are many questions of law and fact

11 common to the claims of Plaintiff and the Classes, and those questions predominate over any
12
     questions that may affect individual members of the Classes. Common questions for the Classes
13
     include, but are not necessarily limited to the following:
14
            (a)     whether Defendants systematically placed autodialed telephone calls to Plaintiff
15
     and consumers;
16
17          (b)     whether Defendants systematically made multiple telephone calls to Plaintiff and

18 consumers whose telephone numbers were registered with the DNC;
19          (c)     whether Defendants failed to implement policies and procedures for maintaining a
20
     list of persons who request not to be called by Defendants before engaging in telemarketing;
21
            (d)     whether Defendants placed calls to Plaintiff and consumers without having the
22
     necessary prior express written consent required for such calls;
23
24          (e)     whether Defendants’ conduct constitutes a violation of the TCPA; and

25          (f)     whether members of the Classes are entitled to treble damages based on the

26 willfulness of Defendants’ conduct.
27
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            38.     Adequate Representation: Plaintiff will fairly and adequately represent and
 1
 2 protect the interests of the Classes, and has retained counsel competent and experienced in class

 3 actions. Plaintiff has no interests antagonistic to those of the Classes, and the Defendants have no
 4 defenses unique to Plaintiff. Plaintiff and his counsel are committed to vigorously prosecuting
 5
     this action on behalf of the members of the Classes, and have the financial resources to do so.
 6
     Neither Plaintiff nor his counsel have any interest adverse to the Classes.
 7
            39.     Appropriateness: This class action is also appropriate for certification because
 8
 9 the Defendants have acted or refused to act on grounds generally applicable to the Classes and as
10 a whole, thereby requiring the Court’s imposition of uniform relief to ensure compatible
11 standards of conduct toward the members of the Classes and making final class-wide injunctive
12
     relief appropriate. Defendants’ business practices apply to and affect the members of the Classes
13
     uniformly, and Plaintiff’s challenge of those practices hinges on Defendants’ conduct with
14
     respect to the Classes as wholes, not on facts or law applicable only to Plaintiff. Additionally, the
15
     damages suffered by individual members of the Classes will likely be small relative to the
16
17 burden and expense of individual prosecution of the complex litigation necessitated by
18 Defendants’ actions. Thus, it would be virtually impossible for the members of the Classes to
19 obtain effective relief from Defendants’ misconduct on an individual basis. A class action
20
     provides the benefits of single adjudication, economies of scale, and comprehensive supervision
21
     by a single court. Economies of time, effort, and expense will be fostered and uniformity of
22
     decisions will be ensured.
23
24

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                                        FIRST CLAIM FOR RELIEF
 1
                                     Telephone Consumer Protection Act
 2                                       (Violation of 47 U.S.C. § 227)
                         (On Behalf of Plaintiff and the Autodialed No Consent Class)
 3
            40.     Plaintiff repeats and realleges paragraphs 1 through 39 of this Complaint and
 4
 5 incorporates them by reference.
 6          41.     Defendants’ realtors made unwanted solicitation calls to cellular telephone

 7 numbers belonging to Plaintiff and the other members of the Autodialed No Consent Class using
 8 equipment that, upon information and belief, had the capacity to store or produce telephone
 9
     numbers to be called, using a random or sequential number generator.
10
            42.     These solicitation telephone calls were made en masse without the prior express
11
     written consent of Plaintiff and the other members of the Autodialed No Consent Class.
12
13          43.     Defendants’ realtors made these calls, negligently or willfully and knowingly.

14          44.     Defendants are vicariously liable for their realtors calls because they directed

15 and/or ratified the realtors’ actions.
16
            45.     Defendants have, therefore, violated 47 U.S.C. § 227(b)(1)(A)(iii). As a result of
17
     Defendants’ conduct, Plaintiff and the other members of the Autodialed No Consent Class are
18
     each entitled to a minimum of $500 in damages, and up to $1,500 in damages, for each violation.
19
20                                 SECOND CAUSE OF ACTION
                                Telephone Consumer Protection Act
21                                  (Violation of 47 U.S.C. § 227)
                  (On Behalf of Plaintiff Valdes and the Do Not Call Registry Class)
22
            46.     Plaintiff repeats and realleges paragraphs 1 through 39 of this Complaint and
23
24 incorporates them by reference.

25          47.     The TCPA’s implementing regulations provide that “[n]o person or entity shall

26 initiate any telephone solicitation” to “[a] residential telephone subscriber who has registered his
27
                                     CLASS ACTION COMPLAINT
28                                             -12-
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     or her telephone number on the national do-not-call registry of persons who do not wish to
 1
 2 receive telephone solicitations that is maintained by the federal government.” 47 C.F.R. §

 3 64.1200(c).
 4           48.     This regulation is “applicable to any person or entity making telephone
 5
     solicitations or telemarketing calls to wireless telephone numbers.” 47 C.F.R. § 64.1200(e).
 6
             49.     Any “person who has received more than one telephone call within any 12-month
 7
     period by or on behalf of the same entity in violation of the regulations prescribed under this
 8
 9 subsection may” may bring a private action based on a violation of said regulations, which were
10 promulgated to protect telephone subscribers’ privacy rights to avoid receiving telephone
11 solicitations to which they object. 47 U.S.C. § 227(c).
12
             50.     Defendants’ realtors initiated telephone solicitations to telephone subscribers such
13
     as Plaintiff and the Do Not Call Registry Class members who registered their respective
14
     telephone numbers on the DNC.
15
             51.     These solicitation telephone calls were made en masse without the prior express
16
17 written consent of Plaintiff and the other members of the Do Not Call Registry Class.
18           52.     Defendants’ realtors made these calls, negligently or willfully and knowingly.
19           53.     Defendants are vicariously liable for their realtors calls because they directed
20
     and/or ratified the realtors’ actions.
21
             54.     Defendants have, therefore, violated 47 U.S.C. § 227(c)(5). As a result of
22
     Defendants’ conduct, Plaintiff and the other members of the Do Not Call Registry Class are each
23
24 entitled to a minimum of $500 in damages, and up to $1,500 in damages, for each violation.

25
26
27
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                                    THIRD CAUSE OF ACTION
 1
                                Telephone Consumer Protection Act
 2                                  (Violations of 47 U.S.C. § 227)
                      (On Behalf of Plaintiff and the Internal Do Not Call Class)
 3
            55.     Plaintiff repeats and realleges paragraphs 1 through 39 of this Complaint and
 4
 5 incorporates them by reference.
 6          56.     Under 47 C.F.R. § 64.1200(d): No person or entity shall initiate any call for

 7 telemarketing purposes to a residential telephone subscriber unless such person or entity has
 8 instituted procedures for maintaining a list of persons who request not to receive telemarketing
 9
     calls made by or on behalf of that person or entity. The procedures instituted must meet the
10
     following minimum standards:
11
            (1) Written policy. Persons or entities making calls for telemarketing purposes
12
            must have a written policy, available upon demand, for maintaining a do-not-call
13          list.

14          (2) Training of personnel engaged in telemarketing. Personnel engaged in any
            aspect of telemarketing must be informed and trained in the existence and use of
15          the do-not-call list.
16
            (3) Recording, disclosure of do-not-call requests. If a person or entity making a
17          call for telemarketing purposes (or on whose behalf such a call is made) receives a
            request from a residential telephone subscriber not to receive calls from that
18          person or entity, the person or entity must record the request and place the
            subscriber's name, if provided, and telephone number on the do-not-call list at the
19          time the request is made. Persons or entities making calls for telemarketing
20          purposes (or on whose behalf such calls are made) must honor a residential
            subscriber's do-not-call request within a reasonable time from the date such
21          request is made. This period may not exceed thirty days from the date of such
            request. If such requests are recorded or maintained by a party other than the
22          person or entity on whose behalf the telemarketing call is made, the person or
            entity on whose behalf the telemarketing call is made will be liable for any
23          failures to honor the do-not-call request. A person or entity making a call for
24          telemarketing purposes must obtain a consumer's prior express permission to
            share or forward the consumer's request not to be called to a party other than the
25          person or entity on whose behalf a telemarketing call is made or an affiliated
            entity.
26
27
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            (4) Identification of sellers and telemarketers. A person or entity making a call for
 1
            telemarketing purposes must provide the called party with the name of the
 2          individual caller, the name of the person or entity on whose behalf the call is
            being made, and a telephone number or address at which the person or entity may
 3          be contacted. The telephone number provided may not be a 900 number or any
            other number for which charges exceed local or long distance transmission
 4          charges.
 5
            (5) Affiliated persons or entities. In the absence of a specific request by the
 6          subscriber to the contrary, a residential subscriber's do-not-call request shall apply
            to the particular business entity making the call (or on whose behalf a call is
 7          made), and will not apply to affiliated entities unless the consumer reasonably
            would expect them to be included given the identification of the caller and the
 8          product being advertised.
 9
            (6) Maintenance of do-not-call lists. A person or entity making calls for
10          telemarketing purposes must maintain a record of a consumer's request not to
            receive further telemarketing calls. A do-not-call request must be honored for 5
11          years from the time the request is made.
12
     47 C.F.R. § 64.1200(d).
13
            57.     The TCPA provides that any “person who has received more than one telephone
14
     call within any 12-month period by or on behalf of the same entity in violation of the regulations
15
     prescribed under this subsection may” bring a private action based on a violation of said
16
17 regulations, which were promulgated to protect telephone subscribers’ privacy rights to avoid
18 receiving telephone solicitations to which they object. 47 U.S.C. § 227(c)(5).
19          58.     Defendants’ realtors initiated telephone solicitations to Plaintiff and members of
20
     the Internal DNC Class notwithstanding Defendants and their realtors’ failure to implement
21
     internal procedures for maintaining a list of persons who request not to be called and/or by
22
     implementing procedures that do not meet the minimum standards for initiating telemarketing
23
24 calls.

25          59.     Defendants are vicariously liable for their realtors calls because they directed

26 and/or ratified the realtors’ actions.
27
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            60.      Defendants have, therefore, violated 47 U.S.C. § 227(c)(5). As a result of
 1

 2 Defendant’s conduct, Plaintiff and the other members of the Stop Class are each entitled to up to

 3 $1,500 for each violation.

 4                                         PRAYER FOR RELIEF
 5
            WHEREFORE, Plaintiff Valdes, individually and on behalf of the Classes, prays for the
 6
     following relief:
 7
            a. An order certifying the Classes as defined above; appointing Plaintiff as the
 8

 9                representative of the Classes; and appointing his attorneys as Class Counsel;

10          b. An award of actual and/or statutory damages for the benefit of Plaintiff and the

11                Classes, and costs;
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            c. An order declaring that Defendants’ actions, as set out above, violate the TCPA;
13
            d. An injunction requiring the Defendants to cease all unsolicited calling activity, to
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                  implement sufficient TCPA related policies and procedures, and to otherwise protect
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                  the interests of the Classes; and
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17          e. Such further and other relief as the Court deems just and proper.

18                                             JURY TRIAL DEMAND
19          Plaintiff requests a jury trial.
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                                                      Respectfully Submitted,
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                                                      JORGE VALDES, individually and on behalf of
22                                                    those similarly situated individuals
23 Dated: April 11, 2019                              By: /s/ Afshin Siman
24                                                    Afshin Siman (Cal bar no. 309956)
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                                        CLASS ACTION COMPLAINT
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11
                                     Attorneys for Plaintiff and the putative Classes
12
13                                   *Pro Hac Vice motion forthcoming

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                           CLASS ACTION COMPLAINT
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